        Case 9:14-cr-00027-DLC Document 110 Filed 07/31/14 Page 1 of 7



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

 UNITED STATES OF AMERICA,                             CR 14-27-M-DLC
                      Plaintiff,
                                                            ORDER
        vs.


 TONY GUSTAFSON,


                      Defendant.


      Before the Court is Defendant Tony Gustafson’s motion requesting a second

hearing under 18 U.S.C. § 3142(f)(2) on the issue of his release or detention

pending trial in this matter, and his associated request to be released from custody.

For the reasons discussed, the Court deems it appropriate to deny Defendants’

motions.

      Defendant was originally charged with multiple criminal offenses by way of

a Criminal Complaint filed on April 8, 2014, and he was arrested in Nebraska on

April 9, 2014. On April 11, 2014, Defendant appeared before the United States

District Court for the District of Nebraska, United States Magistrate Judge Cheryl

R. Zwart presiding, for both his initial appearance and a hearing on the issue of his

                                          1
        Case 9:14-cr-00027-DLC Document 110 Filed 07/31/14 Page 2 of 7



release or detention under 18 U.S.C. § 3142(f). Following the detention hearing,

and by Order entered April 11, 2014, Judge Zwart ordered Defendant detained

pursuant to section 3142(e). Defendant was then transported to Montana for

further proceedings.

      In May, the United States filed an Indictment in this case charging

Defendant with conspiring to advertise child pornography in violation of 18

U.S.C. § 2251(d) & (e). On May 15, 2014, Defendant appeared before this Court

for his arraignment on the Indictment, and the court remanded Defendant to the

custody of the United States Marshal.

      The United States then transferred Defendant to the Crossroads Correctional

Center (Crossroads) in Shelby, Montana, to be detained pending trial. He was

initially housed in the J-pod facility at Crossroads in general population

conditions.

      At some point the United States Attorney directed the Marshal to hold

Defendant separately from his co-defendants in this case, and from other

defendants in a similar child pornography case, both for evidentiary reasons and to

prevent communications between the several defendants. Consequently, at the

direction of the United States, on June 18, 2014, the guards at Crossroads

transferred Defendant to a segregation unit at Crossroads, and he was held in

                                          2
        Case 9:14-cr-00027-DLC Document 110 Filed 07/31/14 Page 3 of 7



insolation confined to his cell for 23 hours per day under conditions significantly

more adverse than the general population conditions to which he was subject

while housed in the J-pod. Defendant remained at Crossroads subject to the

adverse segregation conditions until July 9, 2014, when he was transferred to the

Missoula County Detention Center. Since being transferred to Missoula,

Defendant has been held in custody under general population conditions.

      Defendant moves the Court, pursuant to 18 U.S.C. § 3142(f)(2), to reopen

his prior detention hearing held in Nebraska. Section 3142(f)(2) permits a prior

detention hearing to be reopened under limited conditions as follows:

      The hearing may be reopened, before or after a determination by the judicial
      officer, at any time before trial if the judicial officer finds that information
      exists that was not known to the movant at the time of the hearing and that
      has a material bearing on the issue whether there are conditions of release
      that will reasonably assure the appearance of such person as required and
      the safety of any other person and the community.

18 U.S.C. § 3142(f)(2).

      In support of his motion Defendant asserts that the adverse conditions of his

isolated confinement in segregation while at Crossroads violated his due process

rights as a pretrial detainee protected under the United States Constitution. He

also alleges the conditions led to a deterioration of his mental health. He argues

the asserted constitutional violation and resulting damage satisfy the foregoing



                                          3
        Case 9:14-cr-00027-DLC Document 110 Filed 07/31/14 Page 4 of 7



provisions permitting the Court to reopen his detention hearing. He contends the

constitutional violation constitutes new information that developed after his April

11, 2014 detention hearing, and that the appropriate remedy for the violation is his

release from custody. Also, having been subjected to severe restrictions while

held in segregation, Defendant asserts he is willing to comply with any and all

conditions of release so as to avoid returning to custody in similar adverse

conditions of segregation.

      On July 10, 2014, the Court conducted a hearing on Defendant’s motion.

As ordered by the Court, the parties filed supplemental briefing on the issue of

whether adverse conditions of pretrial confinement may constitute information not

previously known to the Defendant that is relevant to the issue of whether

Defendant is now eligible for release under 18 U.S.C. § 3142(c).

      For either party to successfully move to reopen a detention hearing under 18

U.S.C. § 3142(f)(2), the movant “must establish: 1) that information now exists

that was not known to the movant at the time of the initial detention hearing, and

2) the new information is material to release conditions regarding flight or

dangerousness.” United States v. Garivay, 2013 WL 6577320, *3 (D. Ariz. 2013)

(emphasis added). The new evidence must be “information that would materially

influence the judgment about whether there are conditions of release which will

                                         4
        Case 9:14-cr-00027-DLC Document 110 Filed 07/31/14 Page 5 of 7



reasonably assure that the defendant will not flee and will not harm any other

person or the community.” United States v. Lane, 2013 WL 2390253, *1 (D. Ariz.

2013) (quoting United States v. Cisneros, 358 F.3d 610, 614 (10th Cir. 2003)).

The district court has discretion in determining whether a detention hearing should

be reopened, and it may decline to reopen a hearing if the purported new

information “is not sufficiently material to the issues of dangerousness or flight

risk[.]” Id., (citing United States v. Hare, 873 F.2d 796, 799 (5th Cir. 1989)).

      Defendant’s recent experience with adverse conditions of segregated

custody at Crossroads is “new” information in that it has arisen after his initial

detention hearing. But the Court concludes those alleged conditions – even if they

constitute a violation of Defendants’ constitutionally protected due process rights

as he asserts – are irrelevant to the issues of whether Defendant poses a risk of

flight or danger. A detainee’s “conditions of confinement are immaterial to the

issue of whether he is a danger to the community and/or risk of flight.” United

States v. Keller, 2008 WL 3085199, *3 (D. Mass. 2008). While significantly

adverse conditions of confinement may give rise to a civil rights claim under 42

U.S.C. § 1983 or Bivens v. Six Unknown Named Agents of Federal Bureau of

Narcotics, 403 U.S. 388 (1971), they have no bearing on the Court’s consideration

of whether Defendant is likely to flee or pose a danger to the community if he

                                          5
        Case 9:14-cr-00027-DLC Document 110 Filed 07/31/14 Page 6 of 7



were released.

      Defendant further suggests the alleged deterioration of his mental health

caused by the conditions of his isolated confinement at Crossroads warrants

reconsideration of his detention. But Defendant has failed to demonstrate how his

mental health condition is relevant to the key issues of flight and danger.

Furthermore, because Defendant is now held in general population custody in

Missoula, he is no longer subject to the adverse conditions of isolated segregation

he allegedly experienced at Crossroads.

      Based on the foregoing, the Court concludes that Defendant’s experience

with the conditions of his isolated segregation at Crossroads has no “material

bearing on the issue whether there are conditions of release that will reasonably

assure the appearance of such person as required and the safety of any other

person and the community.” 18 U.S.C. § 3142(f)(2). He has not established that

his detention hearing should be reopened. Therefore, IT IS HEREBY ORDERED

that Defendant’s motions to reopen his hearing, and for his release, are DENIED.

      Notwithstanding, the United States shall not place Defendant in isolated

segregation under conditions similar to those he allegedly experienced while at

Crossroads. If the United States needs to separate Defendant from certain other

defendants, and if isolated, solitary confinement in administrative segregation is

                                          6
        Case 9:14-cr-00027-DLC Document 110 Filed 07/31/14 Page 7 of 7



necessary to satisfy that need, then it shall seek to place defendants who are

already convicted of a criminal offense – not Defendant Gustafson as a pretrial

detainee – in the required administrative segregation. If the United States does

place Defendant in administrative segregation, then he may reapply to the Court to

reopen his detention hearing, subject to the standards of 18 U.S.C. § 3142(f)(2) as

discussed.


      DATED this 31st day of July, 2014.



                                              Jeremiah C. Lynch
                                              United States Magistrate Judge




                                          7
